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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                (Greenbelt Division)

 In re:                                           )
 KEMPES JEAN                                      ) Case No. 20-10883-LSS
 LORI LEE JEAN,                                   )
                                                  ) (Chapter 7)
        Debtors.                                  )
                                                  )
                                                  )
 GARY ROSEN, TRUSTEE,                             )
     Movant,                                      )
                                                  )
 v.                                               )
                                                  )
 KEMPES JEAN, et al.                              )
     Respondents.                                 )
                                                  )

  LINE WITHDRAWING MOTION TO HOLD DEBTORS AND THEIR COUNSEL IN
     CONTEMPT FOR FAILURE TO OBEY COURT ORDER AND TO IMPOSE
  APPROPRIATE SANCTIONS TO COERCE COMPLIANCE WITH COURT ORDER

TO THE CLERK:

       Gary A. Rosen, the Chapter 7 Trustee for the bankruptcy estate of Kempes Jean and Lori

Lee Jean (“the Trustee”), by his undersigned counsel, hereby withdraws his Motion to Hold

Debtors and their Counsel in Contempt for Failure to Obey Court Order and to Impose

Appropriate Sanctions to Coerce Compliance with Court Order, [Dkt. #163].

                                                  Respectfully submitted,


                                                    /s/ Frank J. Mastro
                                                  Frank J. Mastro #24679
                                                  Roger Schlossberg
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                                                  /s/ Gary A. Rosen
                                                Gary A. Rosen
                                                Gary A. Rosen, Chartered
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                                                Rockville, MD 20850
                                                (301) 251-0202
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                                                Attorneys for Gary A. Rosen, Trustee



                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 19th day of May 2021, I served a copy of the foregoing

Line Withdrawing Motion to Hold Debtors and their Counsel in Contempt for Failure to Obey

Court Order and to Impose Appropriate Sanctions to Coerce Compliance with Court Order via

CM/ECF upon:

      Sari K. Kurland, Esq.
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      The Kurland Law Group
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                                                   /s/ Frank J. Mastro
                                                Frank J. Mastro




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